      Case 1:16-cv-00039-NT Document 1-2 Filed 01/26/16 Page 1 of 11                                                          PageID #: 6
                                                                                                                              EXHIBIT A


This summary sheet and the information contained herein neither replace nor supplement the tiling and service of pleadings or other papers us
required by the Maine Rules of Court or by law. This form is required for the use of the Clerk of Court for the purpose of initiating or
updating the civil docket. (SEE INSTRUCTIONS ON REVERSE)

  I. County of Filing or District Court Jurisdiction: KENNEBEC

 II. CAUSE OF ACTION (Cite the primary civil statutes under which you are filing, if any.) Pro se plaintiffs: If unsure, leave
                                                                                                                               blank.'

                                                                                                                 1•1111•1010.0•10111.••••••••
 III.       NATURE OF FILING
            g Initial Complaint
            ❑ Third-Party Complaint
            ❑ Cross-Claim or Counterclaim
            ❑ If Reinstated or Reopened case, give original Docket Number
              (If filing a second or subsequent Money Judgment Disclosure, give docket number of first disclosure)

 1v              TITLE TO REAL ESTATE IS INVOLVED

  V.        MOST DEFINITIVE NATURE OF ACTION. (Place an X in one -boX only )                   Pro se plaintiffs: If unsure, leave blank.

                                                         GENERAL             (CV)
           Personal Injury Tort                   Contract                        C3                Other Forfeitures/Property Libels
      ❑    Property Negligence                 ❑ Contract                         ❑                 Land Use Enforcement(80K)
      C3   Auto Negligence                        Declaratory/Equitable Relief    0                 Administrative Warrant
             Medical Malpractice               ❑ General Injunctive Relief        ❑                 HIV Testing
      ❑         duct Liability                 ❑ Declaratory Judgment             0                 Arbitration Awards
           Assault/Battery                     ❑ Other Equitable Relief           C❑                Appointment of Receiver
      ❑    Domestic Torts                         Constitutional/Civil Rights     ❑                 Shareholders' Derivative Actions
      ❑    O• ther Negligence                  ❑ Constitutional/Civil Rights                        Foreign Deposition
      ❑    Other Personal Injury Tort            Statutory Actions                0                 Pre-action Discovery
           Non-Personal Injury Tort            ❑ Unfair Trade Practices                             Common Law Habeas Corpus
      ❑    Libel/Defamation                    ❑ Freedom of Access                                  Prisoner Transfers
                                                                                  C3
      ❑    Auto Negligence                     ❑ Other Statutory Actions          0                 Foreign Judgments
      ❑    Other Negligence                       Miscellaneous Civil                               Minor Settlements
      ❑    Other Non-Personal Injury Tort      0 Drug Forfeitures                                   Other Civil
                                                 CHILD PROT. CTIVE CUSTODY (PC1
           Non-DHS Protective Custody
                                                           SPECIAL ACTIONS (SA)
     Money Judgment
   ❑ Money Judgment Request Disclosure
                                                         REAL ESTATE(RE)
           Title Actions                         Foreclosure                        Misc. Real Estate
   ❑       Quiet Title                        ❑ Foreclosure for Non-pmt(ADR exempt) ❑ Equitable Remedies ❑ Nuisance
   ❑         E• minent Domain                 ❑ Foreclosure - Other                 ❑ Mechanics Lien     ❑ Abandoned Roads
   ❑       Easements                             Trespass                           ❑ Partition          ❑ Other Real Estate
   ❑       B• oundaries                       ❑ Trespass                            ❑ Adverse Possession
                                            APPEALS (AP)(To be filed in Superior Court) (ADR exempt)
  0 G• overnmental Body(80B)                  ❑ Administrative Agency (80C)         ❑ Other Appeals

VI.        M.R.Civ.P. 16B Alternative Dispute Resolution (ADR):
           I certify that pursuant to M.R.Civ.P. 1613(b), this case is exempt from a required ADR process because:
           ❑ It falls within an exemption listed above (i.e., an appeal or an action for non-payment of a note in a secured transaction).
           ❑ The plaintiff or defendant is incarcerated in a local, state or federal facility.
           ❑ The parties have participated in a statutory prclitigation screening process with
                (name of neutral) on                                             (date).
           ❑ The parties have participated in a formal ADR process with                                                    (name of neutral)
                 on                                             (date).
           ❑ This is a Personal Injury action in which the plaintiffs likely damages will not exceed $30,000, and the plaintiff requests an
                exemption from ADR.




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 VII, (a)0 PLAINTIFFS (Name & Address including county)
      or [3Third -Party, ❑ Counterclaim or Cross-Claim Plaintiffs
           The plaintiff is a prisoner in a local, state or federal facility.
     Blake Harwood
     63 Middle Street
     Hallowell (Kennebec) ME 04347




       (b) Attorneys(Name, Bar number, Firm name,Address, Telephone Number) If all counsel listed
                                                                                                  do NOT represent ail plaintiffs,
       (If pro se plaintiff, leave blank)                                    specify wbo the listed attorney(s) represent.
     Stephen C. Smith Bar No. 8720
     LIPMAN & KATZ,PA
     PO Box 1051
     Augusta, ME 04332-1051
     207-622-3711



     VIII,( Ti DEFENDANTS (Name & Address including county)
     and/or    Third-Party, El Counterclaim or El Cross-Claim Defendants
            ❑ The defendant is a prisoner in a local, state or federal facility.

     City. of Waterville                                                 Brian Gardiner, individually and as Police Officer
     One Common Street                                                   Waterville Police Department
     Waterville, ME 04901                                                10 Colby Street
                                                                         Waterville, ME 04901


 Joseph Massey, individually and as Chief of Police                      Adam Sirlos, individually and as Police Officer
 Waterville Police Department                                            Waterville Police Department
 10 Colby Street                                                         10 Colby Street
 Waterville, ME 04901                                                    Waterville, ME 04901




 (b) Attorneys(Name, Bar number, Firm name, Address, Telephone Number)      If all counsel listed do NOT represent all
     (If known)                                                             defendants, specify who the listed attorney(s)
                                                                            represent.




IX.        RELATED CASE(S) IF ANY

           Assigned Judge/Justice                                      Docket Number



 Date: January 5. 2016                                      Ste•hen C. Smith
                                                            Name of Lead Attome                          ro se Party

                                                             Signature          ttomey or Pro se Party
c:
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STATE OF MAINE                                               SUPERIOR COURT
KENNEBEC,ss                                                  CIVIL ACTION
                                                             DOCKET NO.


BLAKE HARWOOD,an individual
residing in Hallowell, County of Kennebec,
State of Maine,


             Plaintiff

                   v.                                               Complaint
CITY OF WATERVILLE,

JOSEPH MASSEY,in his official and
individual capacity;

BRIAN GARDINER,in his individual capacity;

ADAM SIROIS,in his individual capacity;

             Defendants


    NOW COMES,Plaintiff Blake Harwood, by and through his attorney, Stephen
C. Smith, Esq., and hereby submits the following complaint against Brian
Gardiner, et al:

L     PRELIMINARY STATEMENT

      1.   Blake Harwood brings this action seeking relief for violations of his
           civil rights after being falsely arrested, subjected to excessive force, and
           malicious prosecution by the Waterville Police Department and

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               Officers Brian Gardiner and Adam Sirois; as result of these violations
               of his rights, Mr. Harwood was incarcerated, suffered physical injuries,
               emotional distress and fear, and incurred legal and medical expenses.
   II.        PARTIES
         2.    At all times relevant to these claims, Blake Harwood was over the age
               of 18 and a resident ofthe State of Maine.
         3.    At all times relevant to these claims, the City of Waterville was a
               municipality in the State of Maine and the employer of the defendant
              police officers.
         4.   At all times relevant to these claims, Joseph Massey was the Chief of
              Police for the Waterville Police Department and the final policymaker
              for the Waterville Police Department, and responsible for the training
              and supervision of the police force.
      5.      At all times relevant to these claims, Joseph Massey was acting under
              the color oflaw as the Chief of Police for the Waterville Police
              Department and is sued in his official and individual capacity.
      6.      At all times relevant to these claims, Brian Gardiner was a police
              officer for the City of Waterville and acting under the color of state law
              as a police officer, and is sued in his individual capacity.
      7.      At all times relevant to these claims, Adam Sirois was a police officer
              for the City of Waterville and acting under the color of state law as a
              police officer, and is sued in his individual capacity.
 III. JURISDICTION
      8.      The Court has jurisdiction under 42 U.S.C. §1983,5 M.R.S. §4681 et
              seq., along with the common law and statutory law of the State of
              Maine.


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      9.   All incidents alleged within this complaint occurred within Kennebec
           County, Maine.

 Iv. STATEMENT OF FACTS

      10. Plaintiff Blake Harwood (hereinafter,"Plaintiff') is an individual
          residing in Hallowell, County ofKennebec, State of Maine.

      11. Defendant Brian Gardiner (hereinafter,"Defendant Gardiner") is a
          police officer employed in that capacity with the city of Waterville,
          County of Kennebec, State of Maine.

      12. Defendant Inland Hospital (hereinafter,"Defendant Inland") is a
          corporation with a principal place of business in Waterville, County of
          Kennebec, State of Maine.

      13. Defendant John Doe (hereinafter,"Defendant Doe")is a currently
          unknown individual to the Plaintiff who is appropriately employed in
          the emergency room of Defendant Inland.

      14. On or about August 5th,2014, Plaintiff went to Maine General Hospital
          in Augusta, Maine seeking treatment for an eye infection, fungal rash,
          shortness of breath, dizziness and nausea.

      15. While at Maine General Hospital Plaintiff was initially seen by nurse
          Jenna Marie Boulrissie.

      16. After being maltreated by nurse Boulrissie and locked in a room at the
          hospital without legal authority and subsequently released. Plaintiff
          decided to go to Defendant Inland's facility in Waterville Maine.

      17. Upon arriving at Defendant Inland's Emergency Room at
          approximately 9pm,Plaintiff was unable to locate anyone to assist him.

     18. Feeling overwhelmed by his medical condition Plaintiff lay down on
         the floor ofthe Emergency Room.

     19. John Doe, a person apparently employed by Defendant Inland in the
         Emergency Room found the Plaintiff.

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       20. Upon finding Plaintiff on the floor, Doe stated words to the effect of"If
           you don't get offthe floor, fuck yourself'.

       21. Shortly after being spoken to by Doe, Defendant Gardiner and Officer
           Adam Sirois arrived in uniform,in his capacity as a Waterville Police
           Officer.

      22. Immediately after arriving on the scene and, without provocation from
          the Plaintiff, Defendant Gardiner assaulted the Plaintiff by kicking him
          and kneeing him in the neck while calling him a "pussy".

      23. As the Defendant's cuffed the Plaintiff, Defendant Gardiner
          unnecessarily tightened the handcuffs saying words to the effect of"is
          that tight enough pussy?"

      24. In placing the Defendant in the car Defendant Gardiner threatened the
          Plaintiff by stating "don't cry pussy or I will mace you".

      25. Defendant City of Waterville failed to adequately supervise Defendant
          Gardiner.

      26. Defendant City of Waterville was negligent in training Defendant
          Gardiner.

      27. Plaintiff suffered injuries to his neck and wrist as a result of
          Defendant's negligence.

      28. Plaintiff suffered as a result ofthe Defendant's violation of his civil
          rights.

      29. Plaintiff suffered injuries to his mental health.




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 V. CLAIMS FOR RELIEF

                                            COUNT ONE

                                  FALSE ARREST
             (Pursuant to 42 U.S.C.§1983 and Fourth Amendment of U.S.
                                      Constitution
        and 5. M.R.S.§4682 and Article 1 §5 ofthe State ofMaine Constitution)

       30. The Plaintiff incorporates all previously alleged paragraphs as if alleged
            herein.
       31. Officers Gardiner and Sirois arrested Mr. Harwood without a warrant or
            any probable cause to believe he committed any crime.
       32. The Waterville Police Department and Joseph Massey failed to properly
           train and supervise Officer Gardiner and Officer Sirois in the proper
            procedure and determination ofprobably cause before making an arrest.
       33. As a direct and proximate result of the false arrest, Mr. Harwood's right
           to be free from arrest absent probable cause was violated, and he
           suffered a loss of liberty, pain and suffering, physical injuries, medical
           expenses, legal expenses, fear and anxiety, and emotional distress.


                                      COUNT TWO

                               EXCESSIVE FORCE
            (Pursuant to 42 U.S.C.§1983 and Fourth Amendment of U.S.
                                     Constitution
       and 5. M.R.S.§4682 and Article 1 §5 ofthe State ofMaine Constitution)

      34. The Plaintiff incorporates all previously alleged statements as if alleged
           herein.
      35. Officer Gardiner and Officer Sirois used an excessive and unreasonable
           level offorce against Mr. Harwood in conducting the arrest.

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      36. Mr. Harwood was not resisting arrest or using or threatening any
           physical force against the officers at any point during their encounter.
      37. The Waterville Police Department and Joseph Massey failed to properly
           train and supervise Officer Gardiner and Officer Sirois in the proper use
           offorce in effectuating an arrest.
      38. As a direct and proximate result ofthe excessive use offorce, Mr.
           Harwood's right to be free from the excessive and unreasonable use of
           force was violated, and he suffered a loss ofliberty, pain and suffering,
           physical injuries, medical expenses, legal expenses, fear and anxiety,
           and emotional distress.


                                     COUNT THREE

                             MALICOUSPROSECUTION
              (Pursuant to 42 U.S.0 S 1983 and Fourth Amendment of
          United States Constitution and Common Law ofthe State ofMaine)

      39. The Plaintiff incorporates all previously alleged statements as if alleged
           herein.
      40. The Defendant police officers acted maliciously in charging Mr.
          Harwood with criminal conduct in this matter as the officers knew or
          should have known there was no probably cause to support the charges.
      41. The Waterville Police Department and Joseph Massey failed to
          implement a policy or custom to review the charges brought by its
          officers to assure probable cause existed before the charged proceeded.
      42. As a direct and proximate result of the excessive use offorce, Mr.
          Harwood's right to be free from the excessive and unreasonable use of
          force was violated, and he suffered a loss of liberty, pain and suffering,


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            physical injuries, medical expenses, legal expenses, fear and anxiety,
            and emotional distress.

 VI.   REQUEST FOR RELIEF

       43. As a result of the above constitutional violations the Plaintiff requests
           the following relief:
             i.     Compensatory damages;
             ii.    Punitive damages;
             iii.   Attorney fees and costs pursuant to 42 U.S.C. § 1988, and 5
                    M.R.S. § 4683;
             iv.    And all other monetary and equitable relief the Court finds
                    appropriate.




 DATED:      January 5, 2016
                                             n C. Smith Bar No. 8720
                                       Attorney for Plaintiff
                                       LIPMAN & KATZ,PA
                                       P.O. Box 1051
                                       Augusta, Maine 04332
                                       (207)622-3711




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                                                                               SMAI<L,
                                            STATE OF MAINE
   SUPERIOR COURT                                                        DISTRICT COURT               •
   Kennebec                                                              Location   • - --
   Docket No. CV-1A-                                                     Docket No.

   Blake Harwood
                                             Plaintiff

           v.                                                     SUMMONS
   City of Waterville
                                              Defendant
   One Common Street
                                              Address
   Waterville, ME 0490.1

          The Plaintiff has begun a lawsuit against you in the (aistrizt) (Superior) Court, which
   holds sessions at (street address) 1. Court Street                                         ,in the
   Town/City of        August.                       ,County of        Kennebec                , Maine.
   If you wish to oppose this lawsuit, you or your attorney MUST PREPARE AND SERVE
                                                                                                       A
   WRITTEN ANSWER to the attached Complaint WITHIN 20 DAYS from the
                                                                                                day this
   Summons was served upon you. You or your attorney must serve your Answer, by
                                                                                            delivering a
   copy of it in person or by mail to the Plaintiff's attorney, or the Plaintiff, whose name and
                                                                                                 address
   appear below. You or your attorney must also file the original of your Answer with the
                                                                                                court by
   mailing it to the following address: Clerk of 443tixtrixt)(Superior) Court,
     1 Court Street                                   , Augusta                    , Maine 04330
            (Mailing Address)                            (Town,City)                        (Zip)
   before, or within a reasonable time after, it is served.

                                       IMPORTANT WARNING
                                                       '

  IF YOU FAIL TO SERVE AN ANSWER WITHIN THE TIME STATED ABOVE,
                                                                                            OR IF,
   AFTER YOU ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE
                                                                                          COURT
   NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED
   AGAINST YOU IN YOUR ABSENCE FOR THE MONEY DAMAGES OR
                                                                                          OTHER
  RELIEF DEMANDED IN THE COMPLAINT. IF THIS OCCURS, YOUR EMPLO
                                                                                              YER
  MAY BE ORDERED TO PAY PART OF YOUR WAGES TO THE PLAINTIFF
                                                                                                OR
  YOUR PERSONAL PROPERTY,INCLUDING BANK ACCOUNTS AND YOUR
                                                                                             REAL
  ESTATE MAY BE TAKEN TO SATISFY THE JUDGMENT, IF YOU INTEND
                                                                                                TO
  OPPOSE THIS LAWSUIT, DO NOT FAIL TO ANSWER WITHIN THE REQUIR
                                                                                                ED
  TIME.
          If you believe the plaintiff is not entitled to all or part of the claim set forth in the
  Complaint or if you believe you have a claim of your own against the Plaintiff, you should
                                                                                             talk to
  a lawyer. If you feel you cannot afford to pay a fee to a lawyer, you may ask the clerk of
                                                                                              court
  for information as to places where you may seek legal assistance.
                                                                     (Seai4of Court)
    Date:      / 1 1 /16                                                               /7
                                                                       /4,7/42-c._,

                                                                              Clerk
     -,phen C „Smith Bar No. 8720
 (Attorney for) Plaintiff
  PO Box 1051               Address
  Augusta ME 04332-1051
  207-622-3711              Telephone
  CV-030, Rev.09/97
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                                                 STATE OF MAINE
      SUPERIOR COURT
       Kennebec                                                                DISTRICT COURT
      Docket No. CV-16-                                                        Location
                                                                               Docket No.
      Blake Harwood
                                                 Plaintiff

              v.                                                    SUMMONS
     Adam Sirios                                Defendant
     Waterville Police Dept.
     1 0 Colby Street                            Address
     Waterville, ?t1 04901
             The Plaintiff has begun a lawsuit against you in the 0:4444) (Superior)
     holds sessions at (street address)                                                  Court, which
                                              1 fnurt RtrPet                                     ,in the
     Town/City of                  AuguAts               ,County of
     If you wish to oppose this lawsuit, you or your attorney MUST PREP     vorm    eben          ,Maine.
     WRITTEN ANSWER to the attached Complaint WITHIN 20 DAYS                         ARE  AND   SERV   EA
     Summons was served upon you. You or your attorney must serve your                  from  the  day this
     copy of it in person or by mail to the Plaintiffs attorney, or the Plainti     Answer, by delivering a
     appear below. You or your attorney must also file the original of your     ff, whose name and address
     mailing it to the following address: Clerk of(Dinticat)t(Superior) Court, Answer with the court by
        1 cryfirt Street
                       (Mailing Address)
                                                         , Augusta                   ,Maine 04330
                                                                (Town,City)                    (Zip)
     before, or within a reasonable time after, it is served.

                                         IMEIRILLNIWARIXING
     IF YOU FAIL TO SERVE AN ANSWER WITHIN THE TIME
     OR IF, AFTER YOU ANSWER, YOU FAIL TO APPEAR    STATED ABOVE,
     COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY  AT  ANY TIME THE
     ENTERED AGAINST YOU IN YOUR ABSENCE FOR THE  DEFA ULT MAY BE
     OR OTHER RELIEF DEMANDED IN THE COMPLAIN     MONE  Y DAMAGES
     YOUR EMPLOYER MAY BE ORDERED TO PAY PARTT.    IF THIS OCCURS,
                                                OF YOUR WAGES TO
     THE PLAINTIFF OR YOUR PERSONAL PROPERTY,
     ACCOUNTS AND YOUR REAL ESTATE MAY BE TAKENINCLUDING BANK
                                                   TO SATISFY THE
     JUDGMENT. IF YOU INTEND TO OPPOSE THIS LAWSUIT,
     TO ANSWER WITHIN THE REQUIRED TIME.               DO NOT FAIL

             If you believe the plaintiff is not entitled to all or part of the claim set forth in
     or if you believe you have a claim of your own against the Plaintiff, you should              the Complaint
                                                                                             talk  to
     you feel you cannot afford to pay a fee to a lawyer, you may ask the clerk of court a lawyer. If
     as to places where you may seek legal assistance.                                           for information

                                                                              (Seal of Court)
     Date:      1/11/16


    Stephen C. Smith                Bar No.        8720
    (Attorney for) Plaintiff
    1)0 Box 1051.                             Address

    207-622-3711                              Telephone
    CV-030, Rev. 09/97
